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                                   STATEMENT OF FACTS

        Your affiant, Jimmy Beachum, III, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and I am assigned to the Dallas field office. Currently, I am tasked with
investigating criminal activity in and around the United States Capitol on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

       The U.S. Capitol is secured twenty-four hours a day by Capitol Police. Restrictions around
the Capitol include permanent and temporary security barriers and posts manned by USCP. Only
authorized people with appropriate identification were allowed access inside the Capitol. On
January 6, 2021, the exterior plaza of the Capitol was also closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The Joint Session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As
noted above, barricades—both temporary and permanent—were in place around the exterior of the
Capitol, and USCP were present and attempting to keep the crowd away from the Capitol and the
proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and keep the crowd from entering the Capitol. Shortly after 2:00 PM, however,
individuals in the crowd forced entry into the Capitol using unlawful methods that included
breaking windows and assaulting USCP officers. Others in the crowd encouraged and assisted
those acts.

        Shortly thereafter, at approximately 2:20 PM, members of the House of Representatives
and the Senate, including the President of the Senate, Vice President Pence, were instructed to and
did evacuate the chambers. Accordingly, the Joint Session of Congress was effectively suspended
until shortly after 8:00 PM. Vice President Pence remained in the Capitol from the time he was
evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the attack on the Capitol, video footage which appeared
to be captured on mobile devices of persons present on the scene depicted violations of local and
federal law, including scores of individuals inside the Capitol without permission or authority. One
such individual is the defendant, THOMAS PAUL CONOVER.




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 Thomas Paul Conover’s Involvement in the January 6 Attack on the Capitol

       Thomas Paul Conover is a resident of Tarrant County, Texas, who appears to go by the
name Paul Conover. On Tuesday, January 5, 2021, Conover flew from Dallas, Texas, to
Washington, D.C. with a return flight scheduled for Thursday, January 7, 2021. Conover maintains
a Facebook account under the name of Paul Conover. A Grand Jury subpoena issued to Facebook
confirmed that the Facebook account with the name Paul Conover is in fact owned by an individual
known as Paul Conover.

        Facebook further confirmed that the telephone number associated with the account is a
telephone number—the entirety of which is known to the FBI—that ends in 0510. Records
obtained from AT&T for the telephone number ending in 0510 identify the subscriber of said
number as Paul Conover. The street address listed on the account—the entirety of which is known
to the FBI—is in Keller, Texas. FBI agents searched a law enforcement database and confirmed
that the owner of the property at that address in Keller, Texas, is Thomas Paul Conover.

       Prior to January 6, 2021, Conover wrote or posted the following statements, in sum and
substance, on Facebook:


                                             December 12, 2020

        BLAKELY1: NO DON’T TAR AND FEATHER GO TO WASHINGTON ON
                  THE 6TH OF JANUARY AND TAKE OUR COUNTRY BACK,
                  BUT LIKE MOST YOU WILL PROBABLY STAY ON YOUR
                  COUCH. I’M PLANNING ON FLYING IN ON THE 5TH AND
                  RETURNING IN THE 7TH HOPEFULLY!!

        CONOVER: I’LL GO. WHERE WE STAYING

        BLAKELY: I’M BOOKING MY FLIGHT THIS EVENING I’LL LOOK FOR
                 ACCOMMODATIONS

        CONOVER: IS THAT THE ONE YOUR TAKING I’LL BOOK THE SAME
                 WE CAN SHARE A RENT CAR OR DO WE EVEN NEED ONE

        BLAKELY: SUBWAY AND CITY BIKES

        CONOVER: OK TOLD THE WIFE I’M IN I BET BRANDON PETERSON
                 WILL GO

        BLAKELY: PAUL WHAT AIRPORT I’LL BY THAT

        CONOVER: THAT IS YOUR FLIGHT ON EXPEDIA. DID U BOOK IT?

1
  “Blakely” likely refers to Kevin Sam Blakely (21-CR-356 (EGS)), a separately apprehended Capitol riot defendant
from Collin County, Texas. Blakely and Conover appear together in USCP surveillance video.



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                       December 24, 2020

     GOING TO WASHINGTON DC WITH BLAKEY [SIC] TO JOIN THE
MOB JAN 5TH CMON JOIN US.


                       December 26, 2020

I’LL BE THERE ON THE 6TH


                           January 5, 2021

SHIT STORM IS COMING BUT THAT’S WHAT THE DEMOCRATS WANT


                           January 6, 2021

GREETINGS FROM WASHINGTON DC

WE TOOK THE CAPITAL


                      After January 6, 2021

PEOPLE I HATE TO BURST YOUR BUBBLE BUT THE CAPITAL WAS NOT
STORMED THE PEOPLE WALKED IN

I WAS THERE I SAW THE TRUTH

NOTHING INSIDE I WANT SHARED

LET ME EXPLAIN SOMETHING TO YOUR DUMB ASS THE PEOPLE
DIDN’T GO TO THE CAPITOL TO OVERTURN AN ELECTION YOU
STUPID TWAT THEY WENT THERE TO LET CONGRESS KNOW WE ARE
TIRED OF THERE SHIT AND TO OVERTURN THEM, BUT BECAUSE THEY
ARE SO FUCKING ARROGANT THEY CHANGEDTHE NARRATIVE

YOU CAN BET YOUR ASS CONGRESS WILL BUILD A WALL NOW

FUN FACT: THE CAPITOL WAS BREACHED BEFORE THE PRESIDENT
WAS FINISHED SPEAKING.




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                         Photos Posted to Conover’s Facebook Profile




IMAGE 1 and IMAGE 2 (l to r)—Conover holding what appears to be a Starbucks coffee cup and an empty can of
Coors Light while standing in the north east plaza of the Capitol grounds; and Conover posing for a picture on Capitol
grounds while standing behind a green fence that has a sign attached which reads: AREA CLOSED – BY ORDER OF
THE UNITED STATES CAPITOL POLICE BOARD.




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2 3
    ,




IMAGE 3 and IMAGE 4 (l to r)—While USCP officers struggled to keep rioters out of the East Rotunda Doors2, an
entry which leads directly into the Rotunda and the center of the Capitol, Conover took a selfie with an officer in the
background and posted it to social media; and Conover flashing a thumbs up while holding the same can of Coors
Light while standing in front of John Trumbull’s 1826 oil painting, Declaration of Independence3, while wearing a
hooded sweatshirt that has the text 1776 FOREVER FREE on the front and FREEDOM across the back.




2
    https://www.aoc.gov/explore-capitol-campus/art/columbus-doors
3
    https://www.aoc.gov/explore-capitol-campus/art/declaration-independence



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4 5
    ,




IMAGE 5 and IMAGE 6 (l to r)—Conover snapping a selfie in front of Trumbull’s Declaration of Independence (see
above); and a photograph that Conover posted to Facebook showing the west exit of the Rotunda, with Franklin
Simmons’ 1899 statue of Ulysses S. Grant4 and Vinnie Ream’s 1871 statue of Abraham Lincoln5 seen just over the
heads of the rioters.




4
    https://www.aoc.gov/explore-capitol-campus/art/ulysses-s-grant-statue
5
    https://www.aoc.gov/explore-capitol-campus/art/abraham-lincoln



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IMAGE 7 and IMAGE 8—A photograph posted to Conover’s Facebook profile that shows a television screen, and
on it an individual that appears to be Conover as part of an MSNBC news report covering the riot that took place on
January 6, 2021; and Conover sitting on the steps of the Capitol with a can of Coors Light.



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                 Conover’s Known Activities While Inside the Capitol6 7




IMAGE 9 and IMAGE 10 (top to bottom)—Conover enters the Capitol for the first known time via the Capitol’s East
Rotunda Doors on January 6, 2021, at approximately 2:56 PM.


6
  The red rounded squares are not part of the original surveillance footage. They were added during the investigative
process to assist anyone who reads the document in quickly finding Conover amongst the sea of rioters.
7
 To the extent they are shown, the timestamps are in Coordinated Universal Time (UTC), which on January 6, 2021,
was five hours ahead of Eastern Standard Time (EST). For example, a timestamp of 19:00 UTC would indicate an
EST of 14:00, or 2:00 PM.



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IMAGE 11 and IMAGE 12 (top to bottom)—Conover enters the Capitol Rotunda via the Rotunda’s eastern door at
approximately 2:57 PM.



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IMAGE 13 and IMAGE 14 (top to bottom)—Conover spends most of the next ten minutes wandering around the
Rotunda taking selfies and posing for pictures with his empty can of beer.



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IMAGE 15 and IMAGE 16 (top to bottom)—At approximately 3:10 PM, Metropolitan Police Department officers
arrived to assist in clearing the Rotunda of rioters. Conover and his acquantaince, Blakely (see above), engaged in
several verbal confontations with MPD officers before leaving.


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IMAGE 17 and IMAGE 18 (top to bottom)—At approximately 3:18 PM, Conover left the Capitol through the East
Rotunda Doors.


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                                    Conover’s iCloud Storage

       Pursuant to a federally issued search warrant, I received and reviewed relevant content
from Conover’s iCloud storage account. Conover’s iCloud storage account includes photographs
and videos that defendant appears to have taken on January 6, 2021. Conover can be seen taking
some of the pictures and recording some of the video on USCP surveillance.




IMAGE 19—Conover poses with an unidentified individual dressed as President-Elect Joe Biden holding a bag that
says BALLOTS on it.




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       While inside the Capitol, Conover recorded several videos, including one where he pans
around the interior of the Rotunda while giving the following narration, in sum and substance:

        THIS IS IT, BOYS AND GIRLS. THIS IS THE CAPITOL. APPARENTLY,
        THERE’S SOME CRAZY SHIT GOING ON IN THE SENATE TODAY AND
        THE CERTIFICATION. THEY’VE HAD ENOUGH. WELL, UH, HERE WE
        ARE! HA HA HA HA!

        I PRAY TO GOD THAT NOBODY DOES ANY DAMAGE TO THE STUFF IN
        HERE, ‘CAUSE I’M NOT DOWN WITH THAT. BUT I’M KIND OF, KIND OF
        PROUD OF THE PEOPLE THAT STOOD UP AND SAID YOU KNOW WHAT?
        ENOUGH. YOU DON’T SEE PEOPLE SPRAY PAINTING SHIT OR BURNING
        SHIT DOWN. IT’S REALLY KIND OF COOL. I’M GLAD I CAME.




IMAGE 20 and IMAGE 21 (l to r)—A screenshot from USCP surveillance and a screenshot from a video filmed by
Conover (recovered from Conover’s iCloud storage) that show approximately the same moment in time from different
angles. Conover is circled in red and the two individuals shown in Conover’s video—invluding the separately
apprehended Blakely at right—are circled in light green.




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       After leaving the Capitol, Conover continued taking selfies and posing for photos with his
empty beer can. While filming one such video, Conover stated in sum and substance: I DON’T
ALWAYS STORM THE CAPITOL OF THE UNITED STATES OF AMERICA. BUT WHEN I
DO, I PREFER COORS LIGHT.




IMAGE 22—A screenshot from one of two selfie-style videos that Conover filmed of himself. In both videos, Conover
stated in sum and substance: I DON’T ALWAYS STORM THE CAPITOL OF THE UNITED STATES OF AMERICA.
BUT WHEN I DO, I PREFER COORS LIGHT. There is no indication that Conover drank from the can while inside
the Capitol.




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                            Identification of Conover (WITNESS 1)

        On or about February 7, 2021, the FBI received an online tip from an individual whose
identity is known to the FBI (WITNESS 1). This individual claimed to know Conover and sent the
FBI screenshots of what appear to be Conover bragging on social media about “[having] a beer in
the capital [sic] today.”




IMAGE 23—A screenshot of an apparent conversation on social media between WITNESS 1 and Conover in which
WITNESS 1 tells Conover to “Behave..I don’t want to spend my $2000 to get you out of jail. Conover later responded
by boasting that he “had a beer in the capital [sic] today.”




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                           Identification of Conover (WITNESS 2)

       On February 22, 2021, FBI Dallas received a letter from a second individual (WITNESS
2) who claimed to be a customer of Conover, the owner of a business known as Dent Texas.
WITNESS 2’s letter contained screenshots from an MSNBC news segment that captured video of
Conover inside the Capitol. WITNESS 2 stated that Conover posted pictures of his time inside the
Capitol on his Facebook profile and further stated that Conover can be seen wearing a blue hooded
sweatshirt with the word FREEDOM across the back.




IMAGE 24—A scan of a picture that was included in the letter from WITNESS 2. The picture appears to be a
screenshot of a news report where an individual (identified by WITNESS 2 as Conover) can be seen wearing a blue
hooded sweatshirt with FREEDOM written across the back.



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        Images of Conover Inside Capitol from MPD Body Worn Camera

       I have reviewed recordings from body worn cameras worn by Metropolitan Police
Department officers defending the interior of the Capitol. Screenshots from the body worn camera
footage are shown below, with Conover circled in red.




IMAGE 25—A screenshot from a MPD officer’s body worn camera showing Conover inside the Capitol Rotunda.




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IMAGE 26 and IMAGE 27 (top to bottom)—Two screenshots from separate MPD officers’ body worn camera
showing Conover inside the Capitol Rotunda. Image 25 appears to capture approximately the same period in time as
Image 16, above.




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                   Additional Confirmation of Conover’s Identity

         The FBI obtained a copy of the THOMAS PAUL CONOVER’s Texas driver’s license.
The individual in the driver’s license photo matches the individual seen in the various images
inside of the Capitol on January 6, 2021. Moreover, the Texas driver’s license records for Conover
list as Conover’s the Keller, Texas street address and the telephone number ending in 0510.

       Probable Cause to Issue Arrest Warrant for Thomas Paul Conover

        Based on the foregoing, your affiant submits that there is probable cause to believe that
THOMAS PAUL CONOVER violated 18 U.S.C. § 1752(a)(1)—which makes it a crime to
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and 18 U.S.C. § 1752(a)(2)— which makes it a crime to knowingly, and with intent to impede or
disrupt the orderly conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so
that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so.

        For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.




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        Your affiant further submits there is also probable cause to believe that THOMAS PAUL
CONOVER violated 40 U.S.C. § 5104(e)(2)(D)—which makes it a crime to willfully and
knowingly utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and, 40 U.S.C. § 5104(e)(2)(G)—which makes it a crime
to willfully and knowingly parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      Jimmy Beachum, III
                                                      Special Agent
                                                      Federal Bureau of Investigation


        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 3rd day of December 2021.                            Digitally signed by
                                                                        G. Michael Harvey
                                                                        Date: 2021.12.03
                                                                        11:08:07 -05'00'
                                                    HON. G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE




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